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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
JOEL RICH and MARY RICH,                                       :   Civil Action No.: 1:18-cv-02223
                                                               :
                                    Plaintiffs,                :
                                                               :
v.                                                             :
                                                               :
FOX NEWS NETWORK, LLC, MALIA                                   :
ZIMMERMAN in her individual and professional                   :
capacities, and ED BUTOWSKY, in his individual :
and professional capacities,                                   :
                                                               :
                                    Defendants.                :
-------------------------------------------------------------- X


                             NOTICE OF APPEARANCE OF COUNSEL

 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:


          PLEASE TAKE NOTICE that Y. Gloria Park of Susman Godfrey L.L.P. hereby

 appears on behalf of Plaintiffs Joel Rich and Mary Rich in the above-captioned matter. I

 certify that I am admitted to practice in this Court, and I appear in this case as counsel for

 Plaintiffs Joel Rich and Mary Rich.

 Dated: New York, New York
        March 14, 2018
                                                             SUSMAN GODFREY L.L.P.

                                                             s/ Y. Gloria Park
                                                             Y. Gloria Park (GP0913)
                                                             1301 Avenue of the Americas 32nd Floor
                                                             New York, NY 10019
                                                             Telephone: (212) 336-8330
                                                             Fax: (212) 336-8340
                                                             Email: gpark@susmangodfrey.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify this 14 th day of March, 2018 that I caused a true and correct copy of the

foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF

system which will send notification to the attorneys of record.


                                                     s/ Y. Gloria Park
                                                     Y. Gloria Park




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